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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TEXAS
                          SAN ANTONIO DIVISION

THE ARMY RETIREMENT              §              NO. 5:17-CV-874-DAE
RESIDENCE FOUNDATION-SAN         §
ANTONIO, INC.,                   §
                                 §
           Plaintiff,            §
                                 §
vs.                              §
                                 §
PHILADEPHIA INDEMNITY            §
INSURANCE COMPANY, MICHAEL §
DEAN HARGRAVE, CATTO &           §
CATTO, INC., AND FRED LOYA       §
INSURANCE AGENCY, INC.           §
                                 §
           Defendants.           §
________________________________ §

                ORDER ADMINISTRATIVELY CLOSING CASE
             The matter before the Court is an Opposed Motion to Abate Pending

Pre-Suit Notification. (Dkt. # 13.) Plaintiff did not timely respond to the motion,

so it will be treated as unopposed. Plaintiff did not provide written pre-suit notice

to Defendants before filing the instant case, as required by the Texas Insurance

Code § 541.154(b). (Id. at 2.) When a plaintiff has failed to provide written pre-

suit notice, the court is instructed to abate the action. Tex. Ins. Code Ann.

§ 541.155(a).

             Upon review, the Court finds that an administrative closure of the case

is appropriate at this time. An administrative closure is “a postponement of
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proceedings,” rather than “a termination.” S. La. Cement, Inc. v. Van Aalst Bulk

Handling, B.V., 383 F.3d 297, 302 (5th Cir. 2004). A case that is administratively

closed “may be reopened upon request of the parties or on the court’s own

motion.” Mire, 389 F.3d at 167.

            The Clerk’s office is DIRECTED to ADMINISTRATIVELY

CLOSE this case pending further order of the Court. Though administratively

closed, this case will remain on the docket of this Court and may be reopened upon

request of any party or on the Court’s own motion.

            IT IS SO ORDERED.

            DATED: San Antonio, Texas, October 19, 2017.




                                              _____________________________________
                                              DAVID ALAN EZRA
                                              UNITED STATES DISTRICT JUDGE




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